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~ Reset Form |

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

 

 

csenum ACRI9-N0085:

 

be

 

U.S.A. v. AQUINAS KASBAR

 

[_] Indictment Information

Investigative agency (FBI, DEA, etc.)

Defendant Number 1
Year of Birth 2000

 

 

Santa Ana PD-FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

Class AMisdemeanor [_] Minor Offense [_] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor [_] Felony
b. Date of Offense On or about July 27, 2018

 

c. County in which first offense occurred

Orange

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

[_] Los Angeles
Orange

[_] Ventura

[_] Santa Barbara
[_] Riverside [_] San Luis Obispo
[_] San Bernardino [_] Other

Citation of Offense 16 U.S.C. §§ 1538(a)(1)(B), 1540(b)(1):

 

Unlawful Taking of an Endangered Species Within the U.S.

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

[|] Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
L] Eastern (Riverside and San Bernardino) Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [_] Yes

If "Yes," Case Number:

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:
a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE): N/A

 

PREVIOUSLY FILED COMPLAINT/CVB CITATION
A complaint/CVB citation was previously filed on:

 

 

 

 

 

 

 

Case Number: N/A = =
we
Assigned Judge: =
me
Charging: RO =
: aa oS fi
The complaint/CVB citation: mm
[_] is still pending =e ©
[_] was dismissed on: 2?
= = So
PREVIOUS COUNSEL ie Re
Was defendant previously represented? [_]No  [ _] Yes
IF YES, provide Name: N/A
Phone Number:
COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [ | Yes [_]| No
This isthe N/A superseding charge (i.e., 1st, 2nd).

The superseding case was previously filed on:

 

Case Number

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

 

[ ] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?

[_] Yes* [_] No
Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* [_] No
Was a Notice of Complex Case filed on the Indictment or
Information?
[ ] No

[ ] Yes
*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.
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CENTRAL DISTRICT OF CALIFORNIA
CASE SUMMARY

 

 

INTERPRETER
Is an interpreter required? [| YES NO
IF YES, list language and/or dialect:

 

OTHER

Male [_] Female
U.S.Citizen [_] Alien

Alias Name(s)

 

 

This defendant is charged in:

All counts
[_] Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per
18 USC § 3166(b)(7).

Is defendant a juvenile? [ ] Yes No
IF YES, should matter be sealed? [_] Yes [_] No

The area(s) of substantive law that will be involved in this case
include(s):

[_] financial institution fraud [_] public corruption

[_] government fraud [_] tax offenses

[_] environmental issues [_] mail/wire fraud

[_] narcotics offenses [_] immigration offenses
[_] violent crimes/firearms [_] corporate fraud

Other endangered species - prohibitive act(s)

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on:
in the amount of $

c.PSA supervision? [_] Yes [_]No
d. Is on bail or release from another district:

 

 

Defendant is in custody:
a. Place of incarceration: [_] State . [_] Federal

b. Name of Institution: N/A

c. If Federal, U.S. Marshals Service Registration Number:

 

 

d.[_] Solely on this charge. Date and time of arrest:

 

e. On another conviction: [] Yes [] No

IFYES: [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges: [-] Yes [_] No

IFYES: [| State [-]Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

Date 05/17/2019

LI
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Slareyreot Assistant U.S. Attorney
DANIEL H. AHN

Print Name

 

 

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